                Exhibit FFF




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                                                                                                                                                                 Witness:
                                                                                                                                                             M. Bass 30(b)(6)

                                                                                                                                                                  Ex. 4
                                                                                                                                                             3/25/2025 D. Myers Byrd




                                          North Carolina Black Alliance
                                          2024 Organization Overview

     NORTH CAROLINA
         ~~             The North Carolina Black Alliance, a 501(c)(3), addresses policy and economic issues to enhance Black
     B                  communities by developing and promoting systemic policy change. As an intergovernmental organization of
                        legislators, municipal officials, county commissioners, school board members, and community leaders, we seek
     Alliance           to collaborate with strategic partners to advance the work of those organizations and enhance intentional
                        collaboration with Black constituencies. In the next two years, our efforts will be to act as a connector and
sustainer of these symbiotic relationships to create a collaborative policy agenda that seeks to engage the overall community to increase
Black voter education.
Issue Organizing + BaseBuilding
NCBA is structured to model our programmatic work and priorities directly from the
needs, challenges, and priorities of the BIPOC NC communities we serve, 'ocusing
our work on five interconnected commitment areas.) We work directly with
community members through public education, voter outreach, and leadership
                                                                                              0
                                                                                             EDUCATION
                                                                                                                                              Commented [1]: @dlester@ncblackalliance.org Did
                                                                                                                            NEALTNCAREf       we ever get a response from the board on changing
development opportunities. These relationships all help inform NCBA's work by                                              ENVIRONMENTAL
                                                                                                                               JUSTICE        these to separate EJ and Health, and change political
helping us understand and address the broad set of issues that impact the well-being                                                          effectiveness to just democracy?
of BIPOC communities.
                                                                                                                                              Commented [2]: @katesha@ncblackalliance.org We
                                                                                                                                              can add to our Exec Mtg on 2/9 to see if Foushee and
                                                                                                                                              Crowder want to add to the board mtg adenga on 2/12
                                                          2024 Goals:
•   Activate community around creating a better quality of life for Black communities by educating voters around our primary programs         Commented [3]: Okay will do!
    and the relationship of these issues to the political process in 2024

•   Support community outreach with intentional base-building

•   Host and create more opportunities for community education, encouraging participation in civics & voting as a tactic, not a solution


                                                                                 •                          •.!~


                                                             Organizing
                                                         NCBA is one of only a few Black-led statewide organizations in NC that has
                                                         the roots, perspective, and capacity to train and mobilize Black and Brown
                                                         communities to advocate for themselves. Operating with a statewide
                                                          presence, our multifaceted strategies employ contextual analysis to inform
                                                         our work, both locally and across the state. It is imperative that our initiatives
                                                         resonate with the needs of our communities. Education is a cornerstone of
                                                         our approach in both local and statewide contexts. We are committed to
                                                         acquiring in-depth knowledge of the issues, respecting the unique
experiences of the impacted community, and ensuring our team is well-prepared to address the concerns in a supportive manner.

At the local level, we prioritize relationship-building as the foundation of our work, emphasizing the significance of maintaining year-
round connections with communities. Unlike national organizations that may adopt focused approaches, we enter these spaces without
a predetermined agenda, establishing relationships and seeking essential insights. Importantly, we conduct assessments to understand
previous community efforts, enabling us to offer tangible resources rather than duplicating existing initiatives.

Our statewide engagement aligns with our organized approach to issue advocacy. We prioritize areas most affected by specific issues,
addressing tiered needs and concentrating our efforts where impact is most needed.

Through our engendered trust and presence by working within the community 365 days a year, not providing a service to them, our
organizing program staff across the state enables NCBA to dive deeper into communities to provide the support, training, infrastructure,
and leadership development necessary to build a strong and sustained movement for the well-being of NC's Black communities.




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   Constituent Collaboration
   NCBA collaborates with Black faith communities, Divine Nine organizations, and collegiate campus-based groups to foster youth
   development. Through these partnerships, we tackle policy and economic challenges, aiming to uplift Black communities and drive
   systemic change. By maintaining a year-round physical presence in communities statewide, we deepen existing connections and forge
   new ones, rooted in ongoing community engagement. Our approach involves formalized partnerships, regranting initiatives, volunteer
   opportunities, and community events.

   •   HBCU/Campus Work: Our voter education and mobilization efforts will include a targeted focus on youth and Black college students,
       particularly those attending North Carolina's HBCUs, to mobilize young voters around key issues down the ballot. Senate Bill 747
       (SB 747) is an unconstitutional burden on the fundamental right to vote for young North Carolinians. The state's HBCU students have
       faced a history of voting and civic participation disenfranchisement. They have also been at the forefront of voting rights and protection
       throughout our history. We have a duty to ensure that our young voters, especially those who attend our Historically Black Colleges
       and Universities that have been historically impacted by legislation such as this, can equitably access the ballot box and fully
       participate in our democratic process, per their given right.

                                                                           •       Divine Nine Partnership: NCBA collaborates with the
                                                                           Divine Nine sororities and fraternities, organizing events such as
                                                                           the D9 Legislative Day and targeted engagements, to foster unity
                                                                           and deliver community education, awareness, and advocacy
                                                                           concerning legislative, executive, and judicial matters. As
                                                                           lawmakers propose legislation with potential consequences, the
                                                                           collective action of these organizations becomes pivotal in
                                                                           mobilizing communities, enhancing education, awareness, and
                                                                           advocacy for vulnerable populations. We aim to partner with local
                                                                           chapters to conduct community surveys for data collection, gauge
                                                                           community sentiment, and facilitate campus outreach and election
                                                                           protection efforts.

                                                                           •       Faith-Based Engagement: NCBA partners with faith-
       based organizations to address political and social justice issues that impact our communities. Working alongside faith-based
       organizations helps to create safe spaces, provide opportunities, and cultivate leadership skills for faith leaders to politically empower
       the communities they serve. Over 500 churches are engaged in our regional and community organizing work around voter
       engagement and protection. Through our trusted presence and partnership in community, we provide mini-grants to support the
       implementation of churches and faith centers as Regional Harbors to support our voter education and mobilization infrastructure in
       community, not just during election cycles but as a constant in community year round.

   •   Regional Harbors: NCBA will support civic engagement, voter education & protection of Black communities across NC by sustaining
       our Regional Harbor model to facilitate real institution building while simultaneously maintaining and serving as safe sites within
       community. Sustaining this strategy allows us to have a physical presence and be a resource for voting information, putting NCBA
       front and center with our staff in community year-round, allowing all program components to reside in one space, thus optimizing
       efficiency. Through hosting community engagement and issue-based programming, we utilize our network of local leaders, churches,
       community organizations, Divine Nine organizations, and HBCUs to mobilize voters and supercharge our election protection
       infrastructure.




   Youth Voter Engagement
   https://ww.instagram.com/hbcunitync/

   Recent statistics show that young voters, particularly those attending HBCUs,
   have lower voter turnout rates compared to older age groups. According to a
   study by the Center for Information and Research on Civic Learning and
   Engagement, in the 2018 midterm elections, only40% of eligible young people
   voted, compared to 63% of eligible voters overall. NCBA hopes to increase the
   voter participation rate among HBCU college students to create a more
   engaged and informed electorate.


   Raising the B.A.R. (Black Alliance Representative)
   Empowering our Next Generation of Advocates: Raising the B.A.R. for Change!

       We aim to train at least two students at each of the state's Historically Black Colleges and Universities (HBCUs) to become community
   advocates and nonpartisan representatives. Through this program, NCBA hopes to create a network of student leaders who will be more
   civically and politically engaged, better informed about community issues, and able to mobilize their peers around important political and
   social issues. The program is designed to raise awareness, increase engagement, and ultimately increase HBCU college student voting.
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   NC HBCU Collective
   Supporting Administrators through Democratic and Programmatic Challenges

      An HBCU syndicate inclusive of shared resources, enhanced support, and strong sustainable partnerships that help to activate a
   collective effort and build capacity for democratic and civic engagement work on each HBCU campus in NC.



   HBCU 365 Cooperative
   Leveraging Strong Partnerships to Provide Collaborative Campus Experiences

       An effort to create a cooperative programming space, free of competition amongst our campus' strongest democratic engagement
   partners. This syndicate provides collaborative programs that can seamlessly transition from campus to campus, making it easier for
   administrators to implement voter engagement initiatives without feeling overwhelmed. By pooling our resources, expertise, and networks,
   this group develops comprehensive and impactful programs that empower the HBCU communities and amplify their voices in the
   democratic process.




                                                              Democracy + Economic Empowerment
                                                              https://ncblackal liance.org/code-red/


     COF,6RED                                A/               Redistricting

       REEISTRI                         TI IG
                                    ~uckauaNcePRCGRPM
                                                               NCBA continues to play a crucial role in assisting voters in navigating barriers
                                                               to democracy. In 2023, CODE RED, our redistricting education program, was
                                                               relaunched with a focus on community education. Following the Supreme
                                                               Court ruling that prompted the redrawing of maps in North Carolina, it wasn't
   until early fall that the maps were released, allowing us to assess their implications for our redistricting efforts.

   Better NC Fellowship

   In partnership with the NC Budget and Tax Center, we recently launched our next fellowship cohort aimed at developing community
   leaders capable of connecting public budgets with advancing equitable outcomes. This joint effort engages a cohort of individuals
   throughout North Carolina in their respective communities' budgeting and revenue process, speaking to the critical need for policy
   education to yield solutions.




   NC Black Summit
   https://ncblacksummit.org/

   While our commitment to cultivating a more equitable North Carolina persists year-round, we recognize the value of annually convening
   stakeholders, partners, and community advocates at our signature event—the NC Black Summit. This summit has evolved into one of
   the state's most important and well-attended conferences, addressing critical issues in communities of color. Our 17th Annual NC Black
   Summit in April 2023, themed "Moving Forward with Knowledge and Purpose," was a sold-out event with over 350 attendees. Featuring
   notable guest speakers, esteemed panelists, and networking opportunities, the summit included an impactful keynote speech delivered
   by Tennessee Representative Justin J. Pearson. This year's event will be held in Raleigh April 25-26.


   Access to Healthcare




www.ncblackaIliance.org                                                                                                                    Page 3




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    We prioritize the unique needs of Black residents in North Carolina, particularly in those
    areas that are overlooked, such as rural Eastern North Carolina. Through program events
    and outreach, we can reach community members who are not reached by the traditional
    methods of the healthcare system, effectively transforming these opportunities and
    engagements into mobilizing communities around healthcare access issues. By utilizing
    community education to create a more informed electorate and connecting healthcare
    access issues to the legislative process, we provide an onramp for healthcare and
    democracy advocacy in the Black Community.


    Health Equity+ Democracy Education

        in preparation Tor the 2024 elections ana on the reels oT a policy win, ivieaicaia
    Expansion, our program activities will focus on providing education and conducting                STATEWIDE HEALTH FAIR
                                                                                                      A NORTH CAROLINA BUCK ALLIANCE EVENT
    outreach on the connection between healthcare and democracy advocacy. Through these
    activities, we will focus on messaging enrollment for Medicaid and benefits that come with enrollment, as well as the impact of this policy
    implementation on communities of color. We understand that providing affordable healthcare coverage is only scratching the surface of
    healthcare access, so we will incorporate education around the social determinants of health with the work that still needs to be done
    now that Medicaid has been expanded.

    Addressing Black Maternal Health

    — A review of the breastfeeding rates amongst Black women in North Carolina reveals that they have the lowest rates among all racial
    groups in the state at 80.6% compared to 88.6% among White women and 96.2% among Hispanic women. Additionally, Black women
    remain among the highest at risk of dying of breast cancer in both North Carolina and across the country. In 2023, we piloted our first
    cohort of Black Lactation Counselors and, in 2024, will continue to focus our efforts on Eastern North Carolina and supplement the
    lactation training with community education.

    Health Disparities + Environmental Injustice
    — Environmental injustice disproportionately affects the health and well-being of Black communities. Low-income communities of color
    often reside, work, and socialize in close proximity to environmental hazards. This continuous exposure to factors such as contaminated
    water and air pollution significantly impacts the mental and physical health of nearby residents, contributing to conditions like depression,
    anxiety, and reduced life expectancy due to diseases such as kidney disease and tuberculosis.



                                                                Environmental + Climate Justice
      !T        •'
                     !.-YN Sys-
                                                                Environmental and climate justice persist as ongoing challenges in North
      I ;i ~                       CHA,'                        Carolina. Our communities still grapple with injustice, burdened by strategic
                                                                practices such as HB 600 and SB 678, which play a pivotal role in perpetuating
                                                                environmental justice issues. These legislative measures only serve to worsen
                                                                existing injustices. Addressing these concerns requires vigilance, community
                                                                involvement, and informed advocacy. It is crucial to ensure equitable access
                                                                to clean air and water for all North Carolinians.

                                                                Federal Funding Implementation
                                                                     With a longstanding commitment and substantive expertise on
    environmental justice, we are an essential partner to ensure federal opportunities such as the ARPA and IRA investments deliver structural
    changes to historically excluded Black communities. We have led the work to aid Black communities as they prepare for and address the
    disproportionate effects of climate change, working to prevent its continued harm. In collaboration with our partners, we are building public
    awareness and transparency about IRA funding opportunities by providing public information-sharing through in-person meetings,
    webinars, and targeted technical assistance hours. Through connecting community leaders to requests for proposals and other channels
    to secure IRA resources for their communities, we will work with a subset of communities at a deeper level, resourcing their time in
    collaboration and providing technical assistance, supporting their engagement with funding processes locally and identifying barriers to
    successful implementation of funding.

    Climate + Environmental Justice Education & and Issue Awareness

  We recognize the vital importance of simultaneously uplifting our communities at both grassroots and legislative levels. Our commitment
  involves ensuring that local grassroots organizing is complemented by efforts to raise issue awareness and education among elected
  officials. We are dedicated to advancing grassroots education and base-building initiatives, emphasizing their significance alongside
  electoral engagement. As we prioritize building relationships with primary agencies across the state, we hope to advance opportunities
  to introduce or support ongoing Environmental Justice and climate policies, both in the regulatory and traditional legislative spaces within
  the General Assembly. We continue to be sought out as strategic thought partners and issue expertise to provide support for
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                                                                                                                                                                 8
   Environmental Justice (EJ) and Climate Justice (CJ) regulatory matters.


   Develop Community Experts

   We continue our ongoing training sessions and community education & outreach efforts to further work to identify and cultivate community
   policy experts to advocate for Environmental Justice and Climate Justice. NCBA is committed to community engagement, actively
   identifying local experts to provide insight into environmental issues. Building on the success of cohorts in 2022 and 2023, we will launch
   our 4th mini grantee cohort in 2024, to channel resources directly to the community front lines. This program empowers participants to
   advocate for and address locally significant issues. Cohorts typically consist of 7-10 entities working on individual projects and collective
   initiatives.




   The 2024 elections will have numerous election law changes. The surge of restrictive voting legislation witnessed in 2023 was a direct
   response to the increased participation of Black, brown, and youth voters. The enactment of new Voter and Student ID laws now mandates
   NC voters to present a photo ID when casting their ballots, adding further hurdles to the Black vote. Critical, nonpartisan voter education
   will be vital this year. Our goal is to educate people on the new process, mobilize them to the polls and then protect their rights
   once they get there.




   Election Protection
   www.safevoternc.org

   Crucial to elevating voter turnout is the assurance of both physical protection
   for voters and safeguarding the integrity of the vote. Our election protection
   structure maintains its consistency while being tailored to the specific dynamics
   of the 2024 primary and subsequent general election. Our physical presence
   will overlay our Harbor locations.

   •   SafeVoter NC: As part of our ongoing commitment, we are continuously enhancing SafeVoterNC.org ,a 365 days a year, 24/7,
       reliable voting resource that provides credible and up-to-date information about voter safety and non-partisan education, as well
       as the implications of impactful legislation. It's a critical resource for North Carolina voters, especially in rural and urban target
       counties. This platform seeks to demystify the voting process, directly addressing voter fatigue amid the numerous unknown variables
       affecting elections in NC.

   •   Black Legal Network: This initiative deploys trained attorneys to areas with a high risk of voter harassment and intimidation. These
       attorneys are integral in ensuring voter rights protection This program assists with counteracting ongoing voter suppression while
       also being available as legal counsel to our community partners and advocates.

   •   Poll Protection Program: This program addresses barriers unique to Black voters by prioritizing precincts in primarily Black
       neighborhoods. It responds to voter intimidation and racial violence and is part of a broader strategy to establish a physical presence
       in communities year-round, grounded in our Regional Harbors and election protection trainings.

   •   Poll Correspondent Program: This program employs correspondents across the state to report real-time occurrences at various
       polling locations (mostly safe sites), focusing on precincts with high Black voting populations. It also includes training in video, audio,
       and interview methods.




   Direct Voter Engagement + Contact
   Our election protection efforts will coincide with our physical harbor locations, representing a centralized hub where election protection is
   incorporated with larger canvassing efforts and more activities. Locations will be the same for the General Election, with possible
   expansion contingent upon funding Our goal is to overlay turnout with the protection of our turn out efforts.

   Based on historic spending on elections, many down-ballot offices on the ballot, which directly impact our communities, will need critical,
   nonpartisan political education.



             Harbor + Election Protection Presence - Launched January 2024



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                            Region                        County                    City        Precinct

                  Northeast                     Bertie                    Windsor                     Windsor]

                  Northeast*                    Pasquotank                Elizabeth City

                  Southwest                     Cabarrus                  Concord                          12-13

                  Southeast                     Cumberland                Fayetteville                 Lake Rim

                  Triangle                      Durham                    Durham                             23

                  Triangle*                     Johnston                  Clayton

                  Triad                         Guilford                  Greensboro                  Jef] &Jef2

                  Triad *                       Forsyth                   Winston Salem

                  Northeast                     Hertford                  Ahoskie                      Ahoskie3

                  Southwest                     Mecklenburg               Charlotte                          212

                  Triangle                      Wake                      Raleigh                         01-40


                                                                                    Primaries
                              Voter Engagement       Voter Mobilization
                                    (Pass 1)              (Pass 2)

   Total Doors                     14,500                    11,000

   Total Phones                        52,000                21,500

   Volunteer Engagement                 150                   150

   Voter education events
   (Issues/Candidate
   Town Halls)                           5
   GOTV Mobilization
   Events                                                     20


                                                                                    General
                              Voter Engagement      Voter Mobilization
                                    (Pass 1)             (Pass 2)

   Total Doors               150,000               50,000

   Total Phones              450,000               415,000

   Volunteer Engagement 650                        250

   Voter education
   events (2 per region)     10

   GOTV Mobilization
   Events                                          20




   By prioritizing the leadership and voices of communities directly impacted by these ~'ir.riwe~~•n _re:~_~ur~u~•s ~•.~r~
   injustices, our goal is to highlight not just their struggles but also the successes
   achieved through active civic engagement. We aim to showcase tangible outcomes that address real needs and concerns. Our
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   communication strategies are designed to amplify these voices and initiatives in decision-making processes and larger-scale organizing
   campaigns. In addition to supporting all our programs to educate and inform, we extend our impact through strategic marketing and
   communication efforts. Our dedicated engagement includes:

   •   Poll Correspondent Program
   •   Safe Voter NC




                                                                        2024 Budget: $6,000,000

                                                                 NCBA's team holds a variety of lived experiences and identities that reflect
                                                                 the diversity of our communities. The Board of Directors consists of a variety
                                                                 of NC Black community leaders, including grassroots organizers, local,
                                                                 state, and federal officeholders, and appointed officials. They bring a range
                                                                 of experience in issues affecting Black communities in NC to their
                                                                 governance role, informing their duty to hold overall fiduciary responsibility
   and programmatic oversight.

   Our staff brings a variety of expertise in community organizing, public health, policy, voter engagement, democracy, and
   climate/environmental justice, the majority of whom come from the communities we serve. Critically, we all bring our racial identities and
   experiences to the work, helping us connect with the people we serve. In addition to our full-time staff members, we actively involve
   contractors, interns, and fellows in all aspects of our work. Many team members are deeply engaged at local, regional, and statewide
   levels, extending the reach of NCBA beyond their roles within the organization. This ensures strategic connectivity with movement
   partners across the state and beyond.

   NCBA actively fosters nonpartisan voter education, deepening our work on community issues with intentional programs to empower Black
   North Carolinians. As our organization's role in creating systemic change within North Carolina's infrastructure has evolved (from convenor
   to thought partner to relational organizer), strategic investments continue to shift our focus from broad, election-oriented messaging to
   specific issues faced by our community partners on the ground.


   2024 Forecast
   In 2024, NCBA aims to enhance partnerships with organizations statewide by securing the necessary staffing and logistical support to
   accommodate our expanding presence. Our strategy encompasses:

   •   Hiring a staff Accountant & Bookkeeper to streamline financial management and implement financial strategies that support the
       organization's mission and goals.

   •   Expanding our Marketing & Communications team to provide enhanced capacity to support the development and implementation of
       communication strategies aimed at fostering intentional collaboration with Black constituencies in North Carolina.

   •   Investing in enhancing the skills of our team, strengthening community relationships, and providing deeper training to prepare for
       informed education and advocacy, while establishing core infrastructure for improved process alignment and efficiency.


   NCBA strives to expand and diversify our support base to spark sustainable growth by embracing and living out a theory of change rooted
   in the idea that it takes sustained support, at scale, to truly move the needle on our core issues. We continue to engage individual and
   institutional donors in conversations about what this means in terms of our existing and future relationships until we create the change
   we want to see in our communities.




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